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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

IN RE:                                       :      CHAPTER 7
                                             :
ALL STAR HEALTH CARE, INC. A,                :      CASE NO. 17-54115-SMS
GEORGIA CORPORATION,                         :
                                             :
           Debtor.                           :
                                             :

                                 CERTIFICATE OF SERVICE

     I, S. Gregory Hays, Chapter 7 Trustee, certify that I am over the age of 18 and that on this
date, I served a copy of the foregoing NOTICE OF TRUSTEE’S FINAL REPORT AND
APPLICATIONS FOR COMPENSATION AND DEADLINE TO OBJECT (NFR) by first
class U.S. Mail, with adequate postage prepaid, on the persons or entities at the addresses stated
on the attached Exhibit “A”.

         This 1st day of October, 2020.


                                                     /s/ S. Gregory Hays
                                                    S. Gregory Hays
                                                    Chapter 7 Trustee

Hays Financial Consulting, LLC
2964 Peachtree Rd, N.W
Suite 555
Atlanta, Georgia 30305
(404) 926-0060
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                                Exhibit “A”
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Deliwe Ismail                      Evita Bray                       Daniel E. Raskin
3251 Woodview Drive                637 Ferris StSW                  Law Clinic of Daniel E. Raskin
Smyrna, GA 30082-2420              Atlanta, GA 30310-2206           325 Hammond Drive
                                                                    Suite 114
                                                                    Atlanta, GA 30328-5026
Tonya Thomas                       Moore Medical                    Elnora Barnes
1524 Norman Dr                     PO Box 99718                     5159 1st Street
Apt 907                            Chicago, IL 60696-7518           Morrow, GA 30260-3690
Atlanta, GA 30349


Cleatrice McGregor                 Dell Business Credit             Sharon Toney
a/k/a Cleatrice Crawford           Dell Financial Services          2600 Laurice Ct
4446 Westview Dr                   P O Box 81577                    Decatur, GA 30034-2725
Powder Springs, GA 30127           Austin, TX 78708-1577


Candy Andrews                      Qurie Orr                        GA Department Of Revenue
1690 Lee Street                    238 Glory Lane                   P O Box 740321
Decatur, GA 30035-1655             Powder Springs, GA 30127         Atlanta, GA 30374-0432



Bobby Davis                        Hartford Ins.                    Regina Winfrey
70 Perimeter Center East           Bonds and Property               3756 Memorial Drive
#2112                              P O Box 330                      Apt 8
Atlanta, GA 30346-1802             Clinton, NY 13323-0330           Decatur, GA 30032-7334


Shawanna Brown                     Bonita Taylor                    CIT-Cannon Copier Lease
6042 Creekford Dr                  168 Holderness St SW             P O Box 550599
Lithonia, GA 30058-7959            Atlanta, GA 30314-7900           Jacksonville, FL 32255-0599



Maria D. Sesay                     Tammie Bell                      ADT Security Services
5029 Cottage Grove Pl              897 Joseph Club                  3190 S. Vaughn Way
Union City, GA 30291-1109          Mableton, GA 30126-1657          Aurora, CO 80014-3512



Knight Capital                     James Scribner                   Tanasia Parks
9 East Lockerman                   Kan Clark LLP                    250 Sage Dr
Ste.3A-543                         2489 Paces Ferry Rd              Carrollton, GA 30116-5704
Dover, DE 19901-8306               Ste 215
                                   Atlanta, GA 30339
Georgia Dept. of Labor             VICKIE JONES                     Damien Pearson
Suite 826                          45 OLDE MILL POINTE              2850 Venice Road, SW
148 Andrew Young Int. Blvd         HIRAM, GA 30141-3431             # 1138
Atlanta, GA 30303-1751                                              Birmingham, AL 35211-7040


Victoria Davis                     Paula Roper                      AM Trust North America
70 Perimeter Center East           234 Circle                       WCOMP Insurance
#2112                              Douglasville, GA 30134           P O Box 6939
Atlanta, GA 30346-1802                                              Cleveland, OH 44101-1939
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Dell Financial Services            Vivian Miller                    U. S. Attorney
P O BOX 81577                      363 Landmark Way                 600 Richard B. Russell Bldg.
AUSTIN, TX 78708-1577              Austell, GA 30168-6539           75 Ted Turner Drive, SW
                                                                    Atlanta, GA 30303-3315


Ashley Rush                        Change Health Care               GA Dept of Revenue
4200 Tara Dr.                      3055 Lebanon Pike                COMPLIANCE DIVISION
Forest Park, GA 30297-1032         Suite 1000                       ARCS BANKRUPTCY
                                   Nashville, TN 37214-2239         ATLANTA, GA 30345-3202


Tarshal Edwards                    Clear Care                       Chinyere Totty
1481 Pine Springs Dr               650 Townsend St #410             6737 Bill Carruth Pk
Kennesaw, GA 30152-4672            San Francisco, CA 94103          Apt 122
                                                                    Hiram, GA 30141-2716


Internal Revenue Service           General Information Services     Veteran’s Affairs
Centralized Insolvency Dept.       ATTN: VICKIE DERRICK             Choice Programs HM/HHA
PO Box 7346                        917 CHAPIN                       1670 Clairmont Rd.
Philadelphia, PA 19101-7346        CHAPIN, SC 29036-8875            Decatur, GA 30033-4004


Soniaziaria Deatrice Grinold       AFLAC                            Quickbooks
1600 Roberta Dr SW                 Worldwide Headquarters           Attn: Bankruptcy Dept.
Apt 1203                           Columbus, GA 31999-0001          7726 W. Winston Way
Marietta, GA 30008-3880                                             Franklin, WI 53132-9016


Walmart                            LaDonna Briggs                   Georgia Dept. of Labor
Complete Pymt Recovery Serv.       2651 Favor Road                  Suite 910
3500 5th Street                    Apt 1D06                         148 Andrew Young Int. Blvd
Northport, AL 35476-4723           Marietta, GA 30060-5245          Atlanta, GA 30303-1751


James and Tanishea Scribner        Comcast                          All Star Health Care, Inc.
C/O Kan Clark                      P O Box 2127                     950 Cobb Parkway South
2849 Paces Ferry Rd                Norcross, GA 30091-2127          Suite 301
Ste 215                                                             Marietta, GA 30060-6578
Atlanta, GA 30339-3769
Office of the US Trustee           CIT Bank NA                      Boadicea Ward
362 Richard Russell Building       PO Box 593007                    3129 Old Villa Rice Rd
75 Ted Turner Drive, SW            San Antonio, TX 78259-0200       Powder Springs, GA 30127
Atlanta, GA 30303-3315


QUILL                              GA Department Of Labor           GIS
P O Box 37600                      184 Andrew Young Int. Blvd       P O Box 538450
Philadelphia, PA 19101-0600        Atlanta, GA 30303                Atlanta, GA 30353-8450



Ashley Davis                       ANY Lab Test                     Valentina Pharms-McNeill
8 Perimeter East, Apt 1344         2520 Windy Hill Rd.              1507 Germaine Terrace
Atlanta, GA 30346-1674             Ste 201                          McDonough, GA 30253-3916
                                   Marietta, GA 30067-8650
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Atlanta Office Machine            AmTrust North America, Inc.      Colonial Life
552 Cobb Parkway SE               on behalf of Wesco Ins Co.       Processing Center
Marietta, GA 30060-6517           c/o Maurice Wutscher             PO Box 1365
                                  2000 Auburn Dr, Ste 200          Columbia, SC 29202-1365
                                  Beachwood, OH 44122-4328
Amanda Gyimah                     Exxon                            Marie Ann Ayawvi
4080 Landover Ct                  P O Box 6404                     3797 North
Austell, GA 30106-3533            Sioux Falls, SD 57117-6404       Decatur, GA 30032



ADP Payroll Services              Carlstadt, LLC                   Tsega Woldegiorgia
5680 New Northside Drive          630 Broad S                      1437 Tillbury Place
Atlanta, GA 30328-4668            Carlstadt, NJ 07072-1169         Stone Mountain, GA 30083



Crystal Springs                   Sharbreque Faison                Vickie Jones
6750 Discovery Blvd               34 Zimmer Woods Ct               45 Olde Mill Rd.
Mableton, GA 30126-4677           Dallas, GA 30132-0592            Hiram, GA 30141



ADP Screening and                 American Funds Service Co.       Knight Capital Funding II, LLC
Selection Sr                      PO Box 2280                      1691 Michigan Avenue
P O Box 645177                    Norfolk, VA 23501-2280           Suite 230
Cincinnati, OH 45264-5177                                          Miami Beach, FL 33139-2566


Microsoft                         Tonya E. Thomas                  Verizon
One Microsoft Way                 1624 Norman Drive                P O Box 4001
Redmond, WA 98052-6399            Apt. 907                         Acworth, GA 30101-9002
                                  COLLEGE PARK, GA 30349


Carrie Pegues                     A-1 Shredding                    Shell
4162 Pilgrim Place                1791 W. Oak Pkwy                 P O Box 6406
Austell, GA 30106-1328            Suite 10                         Sioux Falls, SD 57117-6406
                                  Marietta, GA 30062-2229


First Insurance Funding           Lizzie Thomas
450 Skokie Blvd, Ste 1000         4002 Jessica Ave
Northbrook, IL 60062-7917         Decatur, GA 30032-3987
